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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                Magistrate Judge Boyd N. Boland

  Civil Action No. 14-cv-03349-PAB-BNB

  ROBERT A. PFAFF,

  Plaintiff,

  v.

  UNITED STATES OF AMERICA,

  Defendant.


               ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE
                       AND RULE 26(f) PLANNING MEETING


        This case has been referred to Magistrate Judge Boyd N. Boland by Judge Philip A.
  Brimmer, pursuant to the Order of Reference dated December 15, 2014. See 28 U.S.C.
  §636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b).

          IT IS HEREBY ORDERED:

         (1) The court will hold a scheduling/planning conference pursuant to Fed. R. Civ. P.
  16(b) on:

                                  March 19, 2015, at 1:30 p.m.


  The conference will be held in Courtroom A-401, Fourth Floor, Alfred A. Arraj United States
  Courthouse, 901 19th Street, Denver, Colorado. If this date is not convenient for any party1, that
  party shall confer with opposing parties and contact my chambers to reschedule the conference
  to a more convenient date. Please remember anyone entering the Alfred A. Arraj United
  States Courthouse will be required to show a valid photo identification. See
  D.C.COLO.LCivR 83.2(b).


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          The term “party” as used in this Order means counsel for any party represented by a
  lawyer and any pro se party not represented by a lawyer.
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          A copy of the instructions for the preparation of a scheduling order and a form of
  scheduling order can be downloaded from the court’s website at www.cod.uscourts.gov. Parties
  shall prepare the proposed scheduling order in accordance with the court’s form.

          The parties shall submit their proposed scheduling order, pursuant to District of Colorado
  Electronic Case Filing (“ECF”) Procedures V.6.0, including a copy of the proposed scheduling
  order in a WordPerfect or Word format sent via e-mailed to
  Boland_Chambers@cod.uscourts.gov, all as required by ECF Procedure V.6.0, on or before:

                                    Seven (7) days prior to the
                                     Scheduling Conference


  Attorneys and/or parties not participating in ECF shall submit their proposed scheduling order on
  paper to the Clerk’s Office. However, if any party in the case is participating in ECF, it is the
  responsibility of that party to submit the proposed scheduling order pursuant to the District of
  Colorado ECF Procedures.

  The plaintiff shall notify all parties who have not yet entered an appearance of the date and time
  of the scheduling/planning conference and provide a copy of this Order to those parties.

          (2) In preparation for the scheduling/planning conference, the parties are directed to
  confer in accordance with Fed. R. Civ. P. 26(f) on or before:

                                Twenty-one (21) days prior to the
                                    Scheduling Conference


  The court encourages the parties to meet face to face, but if that is not possible, the parties may
  meet by telephone conference. All parties are jointly responsible for arranging and attending the
  Rule 26(f) meeting.

          During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
  claims and defenses and the possibilities for a prompt settlement or resolution of the case; make
  or arrange for the disclosures required by Rule 26(a)(1); and develop their proposed
  scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,
  such as conducting joint interviews with potential witnesses, joint meetings with clients,
  depositions via telephone, or exchanging documents outside of formal discovery.

        In those cases in which (i) the parties’ substantive allegations involve extensive
  computer-generated records; (ii) a substantial amount of disclosure or discovery will involve


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  information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
  witnesses will develop testimony based in large part on computer data and/or modeling; or
  (iv) any party plans to present a substantial amount of evidence in digital form at trial, the parties
  shall confer regarding steps they can take to preserve computer records and data, facilitate
  computer-based discovery, resolve privilege issues, limit discovery costs and delay, and avoid
  discovery disputes relating to electronic discovery. The parties shall be prepared to discuss these
  issues, as appropriate, in the proposed scheduling order and at the scheduling/planning
  conference.

         These are the minimum requirements for the Rule 26(f) meeting. The parties are
  encouraged to have a comprehensive discussion and are required to approach the meeting
  cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
  meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
  improve the quality of any eventual trial through more thorough preparation. The discussion of
  claims and defenses shall be a substantive, meaningful discussion.

         The parties are reminded that pursuant to Fed. R. Civ. P. 26(d) no discovery shall be
  sought prior to the Rule 26(f) meeting.

         (3) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
  P. 26(a)(1) on or before:

                                    Seven (7) days prior to the
                                     Scheduling Conference


  Counsel and parties are reminded that the mandatory disclosure requirements encompass
  computer-based evidence which may be used to support claims or defenses. Mandatory
  disclosures must be supplemented by the parties consistent with the requirements of Fed. R. Civ.
  P. 26(e). Mandatory disclosures and supplementation are not to be filed with the Clerk of the
  Court.

          (4) All parties are expected to be familiar with the Local Rules of Practice for the District
  of Colorado. Copies are available from the Clerk of the Court, United States District Court for
  the District of Colorado, or through the District Court’s web site: www.cod.uscourts.gov. All
  out-of-state counsel shall comply with D.C.COLO.LAttyR 3 prior to the scheduling/planning
  conference.




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       DATED December 18, 2014.


                                    BY THE COURT:


                                      s/ Boyd N. Boland
                                    United States Magistrate Judge




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